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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION


     SHARON WRIGHT AUSTIN, et al.,

                       Plaintiffs,

                v.                             Case No.: 1:21-cv-00184-MW-GRJ

     UNIVERSITY OF FLORIDA
     BOARD OF TRUSTEES, et al.,

                       Defendants.


                     DEFENDANTS’ SUPPLEMENTAL BRIEF

        Pursuant to this Court’s order of January 7, 2022, Defendants hereby submit

this supplemental brief in opposition to Plaintiffs’ motion for preliminary injunction.


                                     ARGUMENT
I.      Introduction to the Pickering Doctrine

        The University of Florida (“UF”) is strongly committed to academic freedom

and First Amendment rights for its faculty members. UF’s policy on outside

activities and conflicts of interest and commitment (“conflicts policy”) is fully

consistent with that commitment. UF agrees that “citizens do not surrender their

First Amendment rights by accepting public employment.” Lane v. Franks, 573 U.S.

228, 231 (2014). UF also agrees that “the First Amendment protection of a public
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employee’s speech depends on a careful balance ‘between the interests of the

[employee], as a citizen, in commenting upon matters of public concern and the

interest of the State, as an employer, in promoting the efficiency of the public

services it performs through its employees.’” Id. (quoting Pickering v. Bd. of Ed. of

Twp. High Sch. Dist. 205, Will Cnty., 391 U.S. 563, 568 (1968)) (brackets in Lane).

      As the Supreme Court has explained many times, “when individuals enter into

government employment or contracts, they accept certain restrictions on their

freedom as part of the deal.” Fulton v. City of Philadelphia, 141 S. Ct. 1868, 1878

(2021) (citing cases). 1 “Government employers, like private employers, need a

significant degree of control over their employees’ words and actions; without it,

there would be little chance for the efficient provision of public services.” Garcetti

v. Ceballos, 547 U.S. 410, 418 (2006). “When they speak out, they can express

views that contravene governmental policies or impair the proper performance of

governmental functions.” Id. at 419. “[T]he extra power the government has in this

area comes from the nature of the government’s mission as employer.” Waters v.

Churchill, 511 U.S. 661, 674 (1994) (plurality). The foregoing principles apply




 1
   “The Court has made clear that public employees do not surrender all their First
Amendment rights by reason of their employment. Rather, the First Amendment
protects a public employee’s right, in certain circumstances, to speak as a citizen
addressing matters of public concern.” Garcetti v. Ceballos, 547 U.S. 410, 417
(2006) (emphases added).

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when a public university professor wishes to offer expert testimony or opinion in a

court case in her individual capacity. See Lane, 573 U.S. at 242 (“A public

employee’s sworn testimony is not categorically entitled to First Amendment

protection simply because it is speech as a citizen on a matter of public concern.”).

      The Supreme Court has described the current Pickering doctrine as follows:

             Pickering and later cases in the same line concern the
             constitutionality of restrictions on speech by public
             employees. Under those cases, employee speech is
             unprotected if it is not on a matter of public concern (or is
             pursuant to an employee’s job duties), but speech on
             matters of public concern may be restricted only if the
             interest of the State, as an employer, in promoting the
             efficiency of the public services it performs through its
             employees outweighs the interests of the employee, as a
             citizen, in commenting upon matters of public concern.

Harris v. Quinn, 573 U.S. 616, 652–53 (2014) (cleaned up). The interest of public

employers in the efficient delivery of services encompasses a broad array of

concerns, such as their “legitimate interests in the effective and efficient fulfillment

of their responsibilities to the public, including promoting efficiency and integrity in

the discharge of official duties, and maintaining proper discipline in public service.”

Lane, 573 U.S. at 242 (cleaned up). “The government’s interest in achieving its

goals as effectively and efficiently as possible is … a significant one when it acts as

employer.” Waters, 511 U.S. at 675 (plurality).

      Pickering cases typically are not facial challenges to a public employer’s



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policy. Pickering cases most commonly arise in the context of an individual public

employee who alleges that she has been discharged or otherwise suffered adverse

employment action in retaliation for speech protected by the First Amendment. See,

e.g., Lane, 573 U.S. at 231–32 (plaintiff alleged he was terminated in retaliation for

testifying under subpoena about programmatic fraud); Garcetti, 547 U.S. at 415

(plaintiff alleged he was reassigned to a new position, transferred to a new location,

and denied a promotion in retaliation for writing a memorandum recommending

dismissal of criminal charges); Pickering, 391 U.S. at 566 (teacher alleged she was

fired after writing a letter to the editor criticizing the school board). This is not such

a case. None of the Plaintiffs in this case has suffered, or even alleged, any adverse

employment action in retaliation for engaging in speech. They are challenging UF’s

revised conflicts policy on its face. The Pickering doctrine, however, does not help

them.


II.     The Pickering Doctrine Fails to Support Plaintiffs’ Proposed Preliminary
        Injunction.

        Plaintiffs are challenging UF’s revised conflicts policy, on its face, 2 in the

context of a motion for a preliminary injunction. Therefore, it is Plaintiffs’ burden

to show that they clearly are likely to prevail on an argument that the policy facially



 2
   This cannot be an as-applied challenged because UF has not applied its policy,
as revised on November 23, 2021, to restrict any speech of any of the Plaintiffs.

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violates the First Amendment based on the Pickering doctrine. This they cannot do.

      On its face, UF’s policy includes broad recognition and protection of the right

of faculty members to make comments as citizens on matters of public concern. The

policy states that “comments, including those to the media, are not reportable as

outside activities when made by faculty and staff in their capacities as individual

citizens and not on behalf of another person or entity.” Doc. 23-1 at pg. 221. Thus,

not only are UF faculty members free under UF’s policy to comment as private

citizens on matters of public concern, they need not even report such comments as

outside activities.

      Although a faculty member’s participation as an expert witness in litigation is

a reportable outside activity, see id., UF’s revised policy does not prohibit all such

speech. Far from it. The policy on its face “[e]stablishes a strong presumption that

the university will approve faculty or staff requests to testify as expert witnesses, in

their capacities as private citizens, in all litigation in which the State of Florida is a

party, regardless of the viewpoint of the faculty or staff member’s testimony and

regardless of whether the faculty or staff member is compensated for such

testimony.” Id. The policy goes on to say that “[t]his presumption is particularly

important in cases that challenge the constitutionality, legality, or application of a

Florida law.” Id.




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      UF’s revised policy “[i]mposes a heavy burden on the university to overcome

the strong presumption set forth above, such that requests to serve as expert

witnesses in litigation in which the State of Florida is a party may be denied only

when clear and convincing evidence establishes that such testimony would conflict

with an important and particularized interest of the university, which the university

must set forth and explain in writing.” Id. at pp. 221–22. “A general assertion that

such testimony is a conflict of interest is insufficient to rebut the strong presumption

in favor of such testimony.” Id. at pg. 222. “Additionally, an undifferentiated fear

or apprehension of harm resulting from a conflict is insufficient to rebut the strong

presumption in favor of such testimony.” Id.

      UF’s revised policy on its face fully comports with the Pickering doctrine.

UF could have written a more speech-restrictive policy that would still comply with

the First Amendment. But “the government may certainly choose to give additional

protections to its employees beyond what is mandated by the First Amendment, out

of respect for the values underlying the First Amendment,” and UF has made that

First Amendment-friendly choice here. Waters, 511 U.S. at 674 (plurality). UF’s

policy carefully balances the interests of UF’s faculty and staff in commenting as

private citizens on matters of public concern against UF’s legitimate interest as a

public university “in the effective and efficient fulfillment of [its] responsibilities to

the public.” Lane, 573 U.S. at 242. And the revised policy strikes the balance very


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far on the employees’ side of the ledger. Under the policy, commenting on matters

of public concern in one’s private capacity is not even a reportable outside activity.

And even as to serving as an expert witness in litigation against the State of Florida,

the revised policy enacts a “strong presumption” in favor of allowing such outside

activities. UF carries a “heavy burden” to overcome the presumption. It may do so

only when there is “clear and convincing evidence” that the proposed expert work

would conflict with an “important and particularized interest of the university,”

which it must explain in writing.

      The Pickering doctrine recognizes that some limits on a public employee’s

speech as a private citizen on matters of public concern are necessary, proper, and

constitutional. “Government agencies are charged by law with doing particular

tasks. Agencies hire employees to help do those tasks as effectively and efficiently

as possible.” Waters, 511 U.S. at 674–75 (plurality). “When someone who is paid

a salary so that she will contribute to an agency’s effective operation begins to do or

say things that detract from the agency’s effective operation, the government

employer must have some power to restrain her. Restraints are justified by the

consensual nature of the employment relationship and by the unique nature of the

government’s interest.” Borough of Duryea v. Guarnieri, 564 U.S. 379, 386–87

(2011) (quotation marks omitted). If this Court accepts the Plaintiffs’ invitation to

facially invalidate UF’s revised conflicts policy, to the extent that the policy applies


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to a faculty member’s outside activities involving participation in litigation as an

expert witness or amicus curiae, UF will be left with no ability to regulate such

activities, regardless of their effect on UF’s mission as a public university. Such an

outcome would be contrary to the Supreme Court’s Pickering doctrine. This Court

should not go down that road.


                                  CONCLUSION
      For the foregoing reasons, as well as those set forth in UF’s prior briefing and

at oral argument, Plaintiffs’ motion for preliminary injunction should be denied.

                                               Respectfully submitted,

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